                 Case:4:22-mc-80034-DMR
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                                             ID: 12739993, DktEntry:
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                                                                                of33

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                              June 21, 2023


       No.:         23-15911
       D.C. No.: 4:22-mc-80034-DMR
       Short Title: hey, inc. v. Twitter, Inc.


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
        Case:4:22-mc-80034-DMR
        Case  23-15911, 06/21/2023,Document
                                    ID: 12739993, DktEntry:
                                             31 Filed       1-1, Page
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                   UNITED STATES COURT OF APPEALS
                                                                  FILED
                          FOR THE NINTH CIRCUIT
                                                                  JUN 21 2023
                                                                 MOLLY C. DWYER, CLERK
                                                                  U.S. COURT OF APPEALS




 HEY, INC.,                                   No. 23-15911

              Plaintiff - Appellee,
                                              D.C. No. 4:22-mc-80034-DMR
   v.                                         U.S. District Court for Northern
                                              California, Oakland
 TWITTER, INC.,
                                              TIME SCHEDULE ORDER
              Defendant - Appellee,

   v.

 JOHN DOE 1; JOHN DOE 2,

              Movants - Appellants.



The parties shall meet the following time schedule.

Wed., June 28, 2023          Appellants' Mediation Questionnaire due. If your
                             registration for Appellate CM/ECF is confirmed after
                             this date, the Mediation Questionnaire is due within
                             one day of receiving the email from PACER
                             confirming your registration.
Mon., August 21, 2023        Appellants' opening brief and excerpts of record
                             shall be served and filed pursuant to FRAP 31 and
                             9th Cir. R. 31-2.1.
Thu., September 21, 2023 Appellee's answering brief and excerpts of record
                         shall be served and filed pursuant to FRAP 31 and
                         9th Cir. R. 31-2.1.
       Case:4:22-mc-80034-DMR
       Case  23-15911, 06/21/2023,Document
                                   ID: 12739993, DktEntry:
                                            31 Filed       1-1, Page
                                                     06/21/23   Page33of
                                                                      of33

The optional appellants' reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellants to comply with the Time Schedule Order will result
in automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                            FOR THE COURT:

                                            MOLLY C. DWYER
                                            CLERK OF COURT
